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 1                                                                       The Honorable Lauren King
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 7                            UNITED STATES DISTRICT COURT FOR THE
                                WESTERN DISTRICT OF WASHINGTON
 8
     MONET CARTER-MIXON, as Personal
 9   Representative of the Estate of MANUEL                 No. 3:21-cv-05692-LK
     ELLIS, and MARCIA CARTER,
10
                                            Plaintiffs,     DEFENDANTS FORD, FARINAS,
11
                                                            AND KOMAROVSKY’S ANSWER TO
                v.
12                                                          PLAINTIFFS’ AMENDED
     CITY OF TACOMA, CHRISTOPHER                            COMPLAINT
13   BURBANK, MATTHEW COLLINS,
     MASYIH FORD, TIMOTHY RANKINE,
14   ARMANDO FARINAS, RON
     KOMAROVSKY, PIERCE COUNTY,                             DEMAND FOR JURY
15   GARY SANDERS, and ANTHONY
     MESSINEO,
16
                                       Defendants.
17

18
                Defendants MASYIH FORD, ARMANDO FARINAS, and RON KOMAROVSKY
19
     (hereinafter “Answering Defendants”), in answer to Plaintiffs’ Amended Complaint, admit,
20
     deny, and allege as follows. Unless specifically admitted herein, the answering Defendants
21
     deny each and every allegation in Plaintiffs’ Amended Complaint for Damages.
22

23                                     I.         NATURE OF ACTION
                1.1      Defendants presumptively admit the allegations contained in paragraph 1.1 of
24
     Plaintiffs’ Amended Complaint that this is a civil rights action brought by Plaintiffs Monet
25
     Carter-Mixon, as Personal Representative of the Estate of Manuel Ellis, and Marcia Carter,
26
     pursuant to 42 U.S.C. § 1983 and the Fourth and Fourteenth Amendments, as well as pendent
27
     DEFS FORD, FARINAS & KOMAROVSKY'S ANSWER                      KEATING, BUCKLIN & MCCORMACK, INC., P.S.
     TO PLTFS' AMD COMPLAINT - 1                                                  ATTORNEYS AT LAW
     3:21-cv-05692-LK                                                       801 SECOND AVENUE, SUITE 1210
                                                                             SEATTLE, WASHINGTON 98104
     1035-00014/565146                                                           PHONE: (206) 623-8861
                                                                                  FAX: (206) 223-9423
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 1   claims under Washington Law. Plaintiffs’ claims are asserted against the City of Tacoma;

 2   Tacoma Police Officers Matthew Collins, Christopher Burbank, Timothy Rankine, Masyih

 3   Ford, Armando Farinas, and Ron Komarovksy; Pierce County; and Pierce County Sheriff

 4   Deputies Gary Sanders and Anthony Messineo. To the extent that the remaining allegations

 5   contained in paragraph 1.1 are legal conclusions, Defendants deny the same.

 6              1.2      Defendants deny the allegations contained in paragraph 1.2 of Plaintiffs’

 7   Amended Complaint. By way of further Answer, Defendants admit that the named officers

 8   were on duty at the time of their interaction with Mr. Ellis.

 9              1.3      The allegations contained in paragraph 1.3 are directed at another Defendant

10   and therefore the Answering Defendants deny the allegations contained in paragraph 1.3 of

11   Plaintiffs’ Amended Complaint. By way of further Answer, Defendants deny that Defendant

12   Officers engaged in wrongful conduct.

13              1.4      The allegations contained in paragraph 1.4 are directed at another Defendant

14   and therefore the Answering Defendants deny the allegations contained in paragraph 1.4 of

15   Plaintiffs’ Amended Complaint.

16              1.5      The allegations contained in paragraph 1.5 are directed at another Defendant

17   and therefore the Answering Defendants deny the allegations contained in paragraph 1.5 of

18   Plaintiffs’ Amended Complaint.

19                                            II.     PARTIES

20              2.1      Defendants are without sufficient knowledge as to the truth or falsity of the

21   statements in paragraph 2.1 of Plaintiffs’ Amended Complaint and therefore deny the same.

22              2.2      Defendants are without sufficient knowledge as to the truth or falsity of the

23   statements in paragraph 2.2 of Plaintiffs’ Amended Complaint and therefore deny the same.

24              2.3      The allegations contained in paragraph 2.3 are directed at another Defendant

25   and therefore the Answering Defendants deny the allegations contained in paragraph 2.3 of

26   Plaintiffs’ Amended Complaint for lack of information.

27              2.4      The allegations contained in paragraph 2.4 are directed at another Defendant
     DEFS FORD, FARINAS & KOMAROVSKY'S ANSWER                       KEATING, BUCKLIN & MCCORMACK, INC., P.S.
     TO PLTFS' AMD COMPLAINT - 2                                                   ATTORNEYS AT LAW
     3:21-cv-05692-LK                                                        801 SECOND AVENUE, SUITE 1210
                                                                              SEATTLE, WASHINGTON 98104
     1035-00014/565146                                                            PHONE: (206) 623-8861
                                                                                   FAX: (206) 223-9423
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 1   and therefore the Answering Defendants deny the allegations contained in paragraph 2.4 of

 2   Plaintiffs’ Amended Complaint for lack of information.

 3              2.5      The allegations contained in paragraph 2.5 are directed at another Defendant

 4   and therefore the Answering Defendants deny the allegations contained in paragraph 2.5 of

 5   Plaintiffs’ Amended Complaint for lack of information.

 6              2.6      Defendants admit the allegations contained in paragraph 2.6 that Masyih Ford

 7   was employed as a law enforcement officer by the Tacoma Police Department and was acting

 8   within the course and scope of his employment with the City of Tacoma and under the color

 9   of state law. Defendants deny that actions were taken for the benefit of the marital community

10   and admit the remaining allegations contained in Paragraph 2.6 of Plaintiffs’ Amended

11   Complaint.

12              2.7      Defendants admit the allegations contained in paragraph 2.7 that Armando

13   Farinas was employed as a law enforcement officer by the Tacoma Police Department and

14   was acting within the course and scope of his employment with the City of Tacoma and under

15   the color of state law. Defendants deny that actions were taken for the benefit of the marital

16   community and admit the remaining allegations contained in Paragraph 2.7 of Plaintiffs’

17   Amended Complaint.

18              2.8      Defendants admit the allegations contained in paragraph 2.8 that Ron

19   Komarovsky was employed as a law enforcement officer by the Tacoma Police Department

20   and was acting within the course and scope of his employment with the City of Tacoma and

21   under the color of state law. Defendants deny that actions were taken for the benefit of the

22   marital community and admit the remaining allegations contained in Paragraph 2.8 of

23   Plaintiffs’ Amended Complaint.

24              2.9      Defendants admit the City of Tacoma is a municipal corporation located

25   within the Western District of Washington. By way of further Answer, Defendants admit that

26   at all times material to this Complaint, Officers Ford, Farinas, and Komarovsky were agents

27   of the City of Tacoma, acting within the scope of their employment and under color of state
     DEFS FORD, FARINAS & KOMAROVSKY'S ANSWER                      KEATING, BUCKLIN & MCCORMACK, INC., P.S.
     TO PLTFS' AMD COMPLAINT - 3                                                  ATTORNEYS AT LAW
     3:21-cv-05692-LK                                                       801 SECOND AVENUE, SUITE 1210
                                                                             SEATTLE, WASHINGTON 98104
     1035-00014/565146                                                           PHONE: (206) 623-8861
                                                                                  FAX: (206) 223-9423
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 1   law. Defendants deny the remaining allegations contained in paragraph 2.9 of Plaintiffs’

 2   Amended Complaint.

 3              2.10     The allegations contained in paragraph 2.10 are directed at another Defendant

 4   and therefore the Answering Defendants deny the allegations contained in paragraph 2.10 of

 5   Plaintiffs’ Amended Complaint for lack of information.

 6              2.11     The allegations contained in paragraph 2.11 are directed at another Defendant

 7   and therefore the Answering Defendants deny the allegations contained in paragraph 2.11 of

 8   Plaintiffs’ Amended Complaint for lack of information.

 9              2.12     Defendants Admit that Pierce County is a municipal corporation located in the

10   Western District of Washington. The remaining allegations in paragraph 2.12 are legal

11   conclusions or statements of which the Answering Defendants are without sufficient

12   knowledge as to the truth or falsity of the statements and therefore deny the same.

13                                 III.   JURISDICTION AND VENUE

14              3.1      The allegations contained in paragraph 3.1 of Plaintiffs’ Amended Complaint

15   are legal conclusions and are therefore denied the same.

16              3.2      The allegations contained in paragraph 3.2 of Plaintiff’s Amended Complaint

17   are legal conclusions and therefore are denied the same.

18              3.3      The allegations contained in paragraph 3.3 of Plaintiff’s Amended Complaint

19   are legal conclusions and therefore are denied the same.

20                                              IV.    FACTS

21              4.1      The Answering Defendants are without sufficient knowledge as to the truth or

22   falsity of the statements in paragraph 4.1 of Plaintiffs’ Amended Complaint and therefore

23   deny the same.

24              4.2      The Answering Defendants are without sufficient knowledge as to the truth or

25   falsity of the statements in paragraph 4.2 of Plaintiffs’ Amended Complaint and therefore

26   deny the same.

27              4.3      The Answering Defendants are without sufficient knowledge as to the truth or
     DEFS FORD, FARINAS & KOMAROVSKY'S ANSWER                       KEATING, BUCKLIN & MCCORMACK, INC., P.S.
     TO PLTFS' AMD COMPLAINT - 4                                                   ATTORNEYS AT LAW
     3:21-cv-05692-LK                                                        801 SECOND AVENUE, SUITE 1210
                                                                              SEATTLE, WASHINGTON 98104
     1035-00014/565146                                                            PHONE: (206) 623-8861
                                                                                   FAX: (206) 223-9423
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 1   falsity of the statements in paragraph 4.3       of   Plaintiffs’   Amended           Complaint         and

 2   therefore deny the same.

 3              4.4      The Answering Defendants deny the allegations as characterized in paragraph

 4   4.4 of Plaintiffs’ Amended Complaint.

 5              4.5      The Answering Defendants are without sufficient knowledge as to the truth or

 6   falsity of the statements in paragraph 4.5       of   Plaintiffs’   Amended           Complaint         and

 7   therefore deny the same.

 8              4.6      The Answering Defendants deny the allegations as characterized in paragraph

 9   4.6 of Plaintiffs’ Amended Complaint.

10              4.7      The Answering Defendants are without sufficient knowledge as to the truth or

11   falsity of the statements in paragraph 4.7       of   Plaintiffs’   Amended           Complaint         and

12   therefore deny the same.

13              4.8      The Answering Defendants are without sufficient knowledge as to the truth or

14   falsity of the statements in paragraph 4.8       of   Plaintiffs’   Amended           Complaint         and

15   therefore deny the same.

16              4.9      The Answering Defendants are without sufficient knowledge as to the truth or

17   falsity of the statements in paragraph 4.9       of   Plaintiffs’   Amended           Complaint         and

18   therefore deny the same.

19              4.10     The Answering Defendants are without sufficient knowledge as to the truth or

20   falsity of the statements in paragraph 4.10 of Plaintiffs’ Amended Complaint and therefore

21   deny the same.

22              4.11     The Answering Defendants are without sufficient knowledge as to the truth or

23   falsity of the statements in paragraph 4.11 of Plaintiffs’ Amended Complaint and therefore

24   deny the same.

25              4.12     The Answering Defendants are without sufficient knowledge as to the truth or

26   falsity of the statements in paragraph 4.12 of Plaintiffs’ Amended Complaint and therefore

27   deny the same.
     DEFS FORD, FARINAS & KOMAROVSKY'S ANSWER                       KEATING, BUCKLIN & MCCORMACK, INC., P.S.
     TO PLTFS' AMD COMPLAINT - 5                                                   ATTORNEYS AT LAW
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                                                                              SEATTLE, WASHINGTON 98104
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                                                                                   FAX: (206) 223-9423
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 1              4.13     The Answering Defendants are without sufficient knowledge as to the truth or

 2   falsity of the statements in paragraph 4.13      of   Plaintiffs’   Amended           Complaint         and

 3   therefore deny the same.

 4              4.14     The Answering Defendants are without sufficient knowledge as to the truth or

 5   falsity of the statements in paragraph 4.14 of Plaintiffs’ Amended Complaint and therefore

 6   deny the same.

 7              4.15     The Answering Defendants are without sufficient knowledge as to the truth or

 8   falsity of the statements in paragraph 4.15 of Plaintiffs’ Amended Complaint and therefore

 9   deny the same.

10              4.16     The Answering Defendants are without sufficient knowledge as to the truth or

11   falsity of the statements in paragraph 4.16 of Plaintiffs’ Amended Complaint and therefore

12   deny the same.

13              4.17     Defendants admit that Officer Ford responded to the scene at some point on

14   the night when the incident giving rise to this action took place. The Answering Defendants

15   are without sufficient knowledge as to the truth or falsity of the remaining statements in

16   paragraph 4.17 of Plaintiffs’ Amended Complaint and therefore deny the same.

17              4.18     The Answering Defendants are without sufficient knowledge as to the truth or

18   falsity of the statements in paragraph 4.18 of Plaintiffs’ Amended Complaint and therefore

19   deny the same.

20              4.19     The Answering Defendants are without sufficient knowledge as to the truth or

21   falsity of the statements in paragraph 4.19 of Plaintiffs’ Amended Complaint and therefore

22   deny the same.

23              4.20     The Answering Defendants deny the allegations as stated in paragraph 4.20 of

24   Plaintiffs’ Amended Complaint.

25              4.21     The Answering Defendants deny the allegations as characterized in paragraph

26   4.21 of Plaintiffs’ Amended Complaint.

27              4.22     The Answering Defendants deny the allegations as characterized in paragraph
     DEFS FORD, FARINAS & KOMAROVSKY'S ANSWER                       KEATING, BUCKLIN & MCCORMACK, INC., P.S.
     TO PLTFS' AMD COMPLAINT - 6                                                   ATTORNEYS AT LAW
     3:21-cv-05692-LK                                                        801 SECOND AVENUE, SUITE 1210
                                                                              SEATTLE, WASHINGTON 98104
     1035-00014/565146                                                            PHONE: (206) 623-8861
                                                                                   FAX: (206) 223-9423
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 1   4.22 of Plaintiffs’ Amended Complaint.

 2              4.23     The Answering Defendants deny the allegations as characterized in paragraph

 3   4.23 of Plaintiffs’ Amended Complaint.

 4              4.24     Plaintiffs make no allegation of fact in paragraph 4.24 of the Amended

 5   Complaint and therefore the Answering Defendants deny the same.

 6              4.25     The Answering Defendants deny the allegations as characterized in paragraph

 7   4.25 of Plaintiffs’ Amended Complaint.

 8              4.26     The allegations contained in paragraph 4.26 are directed at another Defendant

 9   and therefore the Answering Defendants deny the allegations contained in paragraph 4.26 of

10   Plaintiffs’ Amended Complaint for lack of information.

11              4.27     The Answering Defendants deny the allegations contained in paragraph 4.25

12   of Plaintiffs’ Amended Complaint.

13              4.28     The Answering Defendants are without sufficient knowledge as to the truth or

14   falsity of the statements in paragraph 4.28 of Plaintiffs’ Amended Complaint and therefore

15   deny the same.

16              4.29     Plaintiffs make no allegation of fact in paragraph 4.29 of the Amended

17   Complaint. To the extent that an Answer is required, the Answering Defendants deny the

18   allegations as characterized in paragraph 4.29 of the Amended Complaint.

19              4.30     The Answering Defendants deny the allegations as characterized in paragraph

20   4.30 of Plaintiffs’ Amended Complaint.

21              4.31     Answering Defendants deny the allegations as characterized in paragraph 4.31

22   of Plaintiffs’ Amended Complaint.

23              4.32     The Answering Defendants deny the allegations as characterized in paragraph

24   4.32 of the Amended Complaint.

25              4.33     The Answering Defendants deny the allegations as characterized in paragraph

26   4.33 of Plaintiffs’ Amended Complaint.

27              4.34     The Answering Defendants deny the allegations as characterized in paragraph
     DEFS FORD, FARINAS & KOMAROVSKY'S ANSWER                       KEATING, BUCKLIN & MCCORMACK, INC., P.S.
     TO PLTFS' AMD COMPLAINT - 7                                                   ATTORNEYS AT LAW
     3:21-cv-05692-LK                                                        801 SECOND AVENUE, SUITE 1210
                                                                              SEATTLE, WASHINGTON 98104
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                                                                                   FAX: (206) 223-9423
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 1   4.34 of Plaintiffs’ Amended Complaint.

 2              4.35     The Answering Defendants deny the allegations as characterized in paragraph

 3   4.34 of Plaintiffs’ Amended Complaint.

 4              4.36     The Answering Defendants deny the allegations as characterized in paragraph

 5   4.36 of Plaintiffs’ Amended Complaint.

 6              4.37     The Answering Defendants are without sufficient knowledge as to the truth or

 7   falsity of the allegations in paragraph 4.37 of Plaintiffs’ Amended Complaint and therefore

 8   deny the same.

 9              4.38     The Answering Defendants deny the allegations as characterized in paragraph

10   4.38 of Plaintiffs’ Amended Complaint.

11              4.39     The Answering Defendants deny the allegations as characterized in paragraph

12   4.38 of Plaintiffs’ Amended Complaint.

13              4.40     The Answering Defendants are without sufficient knowledge as to the truth or

14   falsity of the statements in paragraph 4.40 of Plaintiffs’ Amended Complaint and therefore

15   deny the same.

16              4.41     The Answering Defendants are without sufficient knowledge as to the truth or

17   falsity of the statements in paragraph 4.41 of Plaintiffs’ Amended Complaint and therefore

18   deny the same.

19              4.42     The Answering Defendants deny the allegations as characterized in paragraph

20   4.42 of Plaintiffs’ Amended Complaint.

21              4.43     The Answering Defendants are without sufficient information as to

22   authenticity or source of the photos contained in paragraph 4.43 of Plaintiffs’ Amended

23   Complaint and therefore deny the allegations as characterized 4.43 of Plaintiffs’ Amended

24   Complaint.

25              4.44     Paragraph 4.44 of Plaintiffs’ Complaint contains a legal conclusion and

26   therefore the Answering Defendants deny the same.

27              4.45     The Answering Defendants deny the allegations as characterized in paragraph
     DEFS FORD, FARINAS & KOMAROVSKY'S ANSWER                      KEATING, BUCKLIN & MCCORMACK, INC., P.S.
     TO PLTFS' AMD COMPLAINT - 8                                                  ATTORNEYS AT LAW
     3:21-cv-05692-LK                                                       801 SECOND AVENUE, SUITE 1210
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                                                                                  FAX: (206) 223-9423
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 1   4.45 of Plaintiffs’ Amended Complaint.

 2              4.46     The Answering Defendants are without sufficient knowledge as to the truth or

 3   falsity of the statements in paragraph 4.46 of Plaintiffs’ Amended Complaint and therefore

 4   deny the same.

 5              4.47     The Answering Defendants are without sufficient knowledge as to the truth or

 6   falsity of the statements in paragraph 4.47 of Plaintiffs’ Amended Complaint and therefore

 7   deny the same.

 8              4.48     The Answering Defendants are without sufficient knowledge as to the truth or

 9   falsity of the statements in paragraph 4.48 of Plaintiffs’ Amended Complaint and therefore

10   deny the same.

11              4.49     The Answering Defendants are without sufficient knowledge as to the truth or

12   falsity of the statements in paragraph 4.49 of Plaintiffs’ Amended Complaint and therefore

13   deny the same.

14              4.50     The Answering Defendants admit that medical assistance was requested at for

15   Mr. Ellis on the night in question. The Answering Defendants deny the remaining allegations

16   as characterized in paragraph 4.50 of Plaintiffs’ Amended Complaint.

17              4.51     The Answering Defendants are without sufficient knowledge as to the truth or

18   falsity of the statements in paragraph 4.51 of Plaintiffs’ Amended Complaint and therefore

19   deny the same.

20              4.52     The Answering Defendants lack sufficient knowledge to confirm the truth or

21   falsity of the allegations in paragraph 4.52 of Plaintiffs’ Amended Complaint and therefore

22   deny the same.

23              4.53     The Answering Defendants admit that the Tacoma Fire Department responded

24   to the incident scene. The Answering Defendants deny the remaining allegations as

25   characterized in paragraph 4.53 of the Complaint.

26              4.54     The Answering Defendants deny the allegations as characterized in paragraph

27   4.54 of Plaintiff’s Amended Complaint.
     DEFS FORD, FARINAS & KOMAROVSKY'S ANSWER                      KEATING, BUCKLIN & MCCORMACK, INC., P.S.
     TO PLTFS' AMD COMPLAINT - 9                                                  ATTORNEYS AT LAW
     3:21-cv-05692-LK                                                       801 SECOND AVENUE, SUITE 1210
                                                                             SEATTLE, WASHINGTON 98104
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                                                                                  FAX: (206) 223-9423
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 1               4.55    The Answering Defendants deny the allegations as characterized in paragraph

 2   4.55 of Plaintiff’s Amended Complaint.

 3              4.56     The Answering Defendants admit that Tacoma firefighters attempted to

 4   provide medical aid at the scene. Defendants deny all remaining allegations contained in

 5   paragraph 4.56 of the Amended Complaint.

 6              4.57     The Answering Defendants are without sufficient knowledge as to the truth or

 7   falsity of the statements in paragraph 4.57 of Plaintiffs’ Amended Complaint and therefore

 8   deny the same.

 9              4.58     The Answering Defendants deny the allegations as characterized in paragraph

10   4.58 of the Amended Complaint.

11              4.59     The Answering Defendants deny the allegations contained in paragraph 4.59

12   of the Amended Complaint.

13              4.60     The Answering Defendants deny the allegations as characterized in paragraph

14   4.60 of the Amended Complaint.

15              4.61     The Answering Defendants deny the allegations contained in Paragraph 4.61

16   of the Amended Complaint.

17              4.62     The allegations contained in paragraph 4.62 are directed at another Defendant

18   and therefore the Answering Defendants deny the allegations contained in paragraph 4.62 of

19   Plaintiffs’ Amended Complaint for lack of information.

20              4.63     The allegations contained in paragraph 4.63 are directed at another Defendant

21   and therefore the Answering Defendants deny the allegations contained in paragraph 4.63 of

22   Plaintiffs’ Amended Complaint for lack of information.

23              4.64     The allegations contained in paragraph 4.64 are directed at another Defendant

24   and therefore the Answering Defendants deny the allegations contained in paragraph 4.64 of

25   Plaintiffs’ Amended Complaint for lack of information.

26              4.65     Paragraph 4.65 contains only a legal conclusion for which no response is

27   required.
     DEFS FORD, FARINAS & KOMAROVSKY'S ANSWER                       KEATING, BUCKLIN & MCCORMACK, INC., P.S.
     TO PLTFS' AMD COMPLAINT - 10                                                  ATTORNEYS AT LAW
     3:21-cv-05692-LK                                                        801 SECOND AVENUE, SUITE 1210
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                                                                                   FAX: (206) 223-9423
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 1              4.66     The allegations contained in paragraph 4.66 are directed at another Defendant

 2   and therefore the Answering Defendants deny the allegations contained in paragraph 4.66 of

 3   Plaintiffs’ Amended Complaint for lack of information.

 4              4.67     The allegations contained in paragraph 4.67 are directed at another Defendant

 5   and therefore the Answering Defendants deny the allegations contained in paragraph 4.67 of

 6   Plaintiffs’ Amended Complaint for lack of information.

 7              4.68     The allegations contained in paragraph 4.68 are directed at another Defendant

 8   and therefore the Answering Defendants deny the allegations contained in paragraph 4.68 of

 9   Plaintiffs’ Amended Complaint for lack of information.

10              4.69     The allegations contained in paragraph 4.69 are directed at another Defendant

11   and therefore the Answering Defendants deny the allegations contained in paragraph 4.69 of

12   Plaintiffs’ Amended Complaint for lack of information.

13              4.70     The allegations contained in paragraph 4.70 are directed at another Defendant

14   and therefore the Answering Defendants deny the allegations contained in paragraph 4.70 of

15   Plaintiffs’ Amended Complaint for lack of information.

16              4.71     The allegations contained in paragraph 4.71 are directed at another Defendant

17   and therefore the Answering Defendants deny the allegations contained in paragraph 4.71 of

18   Plaintiffs’ Amended Complaint for lack of information.

19              4.72     The allegations contained in paragraph 4.72 consist only of a legal conclusion

20   for which no response is required and therefore the Answering Defendants deny the same.

21              4.73     The allegations contained in paragraph 4.73 are directed at another Defendant

22   and therefore the Answering Defendants deny the allegations for lack of information.

23              4.74     The allegations contained in paragraph 4.74 are directed at another Defendant

24   and therefore the Answering Defendants deny the allegations contained in paragraph 4.74 of

25   Plaintiffs’ Amended Complaint for lack of information.

26              4.75     Paragraph 4.75 contains allegations directed at another Defendant and

27   therefore the Answering Defendants deny the allegations as characterized in paragraph 4.75
     DEFS FORD, FARINAS & KOMAROVSKY'S ANSWER                       KEATING, BUCKLIN & MCCORMACK, INC., P.S.
     TO PLTFS' AMD COMPLAINT - 11                                                  ATTORNEYS AT LAW
     3:21-cv-05692-LK                                                        801 SECOND AVENUE, SUITE 1210
                                                                              SEATTLE, WASHINGTON 98104
     1035-00014/565146                                                            PHONE: (206) 623-8861
                                                                                   FAX: (206) 223-9423
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 1   of the Amended Complaint for lack of information.

 2              4.76     Paragraph 4.76 contains allegations directed at another Defendant and

 3   therefore the Answering Defendants deny the allegations as characterized in paragraph 4.76

 4   of the Amended Complaint for lack of information.

 5              4.77     Paragraph 4.77 contains allegations directed at another Defendant and

 6   therefore the Answering Defendants deny the allegations as characterized in paragraph 4.77

 7   of the Amended Complaint for lack of information.

 8              4.78     The allegations contained in paragraph 4.78 are directed at another Defendant

 9   and therefore the Answering Defendants deny the allegations for lack of information.

10              4.79     The allegations in paragraph 4.79 are vague and directed at another

11   Defendant; therefore, the Answering Defendants deny the allegations as characterized in

12   paragraph 4.79 of the Amended Complaint.

13              4.80     The Answering Defendants admit that Pierce County investigators conducted

14   an interview of Officer Ford on March 9, 2020. The remaining allegations contained in

15   paragraph 4.80 are directed at other Defendants and therefore the Answering Defendants

16   deny the allegations for lack of information.

17              4.81     The Answering Defendants admit that Officer Ford was interviewed on March

18   9, 2020. The Answering Defendants deny the remaining allegations as characterized in

19   paragraph 4.81.

20              4.82     The allegations contained in paragraph 4.82 of the Amended Complaint

21   consist of legal conclusions for which no response is required, and therefore Defendants deny

22   the allegations.

23              4.83     The allegations contained in paragraph 4.83 of the Amended Complaint

24   consist of legal conclusions for which no response is required, and therefore Defendants deny

25   the allegations.

26              4.84     The Answering Defendants admit that the City of Tacoma placed Officer Ford

27   on administrative leave. The Answering Defendants deny the remaining allegations as
     DEFS FORD, FARINAS & KOMAROVSKY'S ANSWER                       KEATING, BUCKLIN & MCCORMACK, INC., P.S.
     TO PLTFS' AMD COMPLAINT - 12                                                  ATTORNEYS AT LAW
     3:21-cv-05692-LK                                                        801 SECOND AVENUE, SUITE 1210
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                                                                                   FAX: (206) 223-9423
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 1   characterized in paragraph 4.84 of the Amended Complaint.

 2              4.85     The Answering Defendants admit that Officer Ford returned to work after

 3   taking administrative leave. The Answering Defendants deny the remaining allegations as

 4   characterized in paragraph 4.84 of the Amended Complaint.

 5              4.86     The Answering Defendants deny the allegations as characterized in paragraph

 6   4.86 of the Amended Complaint.

 7              4.87     The allegations contained in paragraph 4.87 are directed at another Defendant

 8   and therefore the Answering Defendants deny the allegations for lack of information

 9   sufficient to form an opinion as to the truth of the allegations.

10              4.88     The Answering Defendants are without sufficient knowledge to respond to the

11   allegations contained in paragraph 4.88 of the Amended Complaint and therefore deny the

12   same.

13              4.89     Upon information and belief, the Answering Defendants admit that Victoria

14   Woodards was the mayor of Tacoma and addressed the public on June 4, 2020. The

15   Answering Defendants deny the remaining allegations as characterized in paragraph 4.89 of

16   the Amended Complaint.

17              4.90     Answering Defendants deny the allegations contained in Paragraph 4.90 of

18   the Amended Complaint.

19              4.91     The allegations contained in paragraph 4.91 are directed at another Defendant

20   and therefore the Answering Defendants deny the allegations for lack of information. By way

21   of further Answer, to the extent that the allegations contained in paragraph 4.91 of the

22   Amended Complaint contain legal conclusions, no response is required.

23               4.92 The Answering Defendants lack sufficient information to respond to the

24   allegations contained in paragraph 4.92 of the Amended Complaint and therefore deny the

25   same.

26              4.93     The allegations contained in paragraph 4.93 are directed at another Defendant

27   and therefore the Answering Defendants deny the allegations for lack of information. By way
     DEFS FORD, FARINAS & KOMAROVSKY'S ANSWER                       KEATING, BUCKLIN & MCCORMACK, INC., P.S.
     TO PLTFS' AMD COMPLAINT - 13                                                  ATTORNEYS AT LAW
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     1035-00014/565146                                                            PHONE: (206) 623-8861
                                                                                   FAX: (206) 223-9423
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 1   of further Answer, Plaintiffs make no allegation of fact in paragraph 4.93 of the Amended

 2   Complaint and therefore no response is required.

 3              4.94     The Answering Defendants admit that the Washington State Patrol carried out

 4   an investigation of the incident involving Manuel Ellis. Except as admitted, Defendants deny

 5   all remaining allegations contained in paragraph 4.94 of the Amended Complaint.

 6              4.95     The allegations contained in paragraph 4.95 are directed at another Defendant

 7   and therefore the Answering Defendants deny the allegations for lack of information

 8   sufficient to form an opinion as to the truth of the allegations.

 9              4.96     The allegations contained in paragraph 4.96 are directed at another Defendant

10   and therefore the Answering Defendants deny the allegations for lack of information

11   sufficient to form an opinion as to the truth of the allegations.

12              4.97     The allegations contained in paragraph 4.97 are directed at another Defendant

13   and therefore the Answering Defendants deny the allegations for lack of information

14   sufficient to form an opinion as to the truth of the allegations.

15              4.98     The Answering Defendants admit Washington State Patrol did not interview

16   Officer Ford and deny the remaining allegations as characterized in paragraph 4.98 of the

17   Amended Complaint.

18              4.99     The Answering Defendants admit that Officer Farinas was not interviewed by

19   Washington State Patrol and deny the remaining allegations as characterized in paragraph

20   4.98 of the Amended Complaint.

21              4.100 Upon information and belief, the Answering Defendants admit the

22   Washington State Patrol never requested an interview from Officer Komarovsky.

23              4.101 The Answering Defendants lack information sufficient to form a belief as to

24   the truth of the allegations contained in paragraph 4.101 of the Amended Complaint and

25   therefore deny the same.

26              4.102 The Answering Defendants admit that the Washington State Attorney

27   General’s Office announced its charging decision in May 2021. The Answering Defendants
     DEFS FORD, FARINAS & KOMAROVSKY'S ANSWER                       KEATING, BUCKLIN & MCCORMACK, INC., P.S.
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                                                                                   FAX: (206) 223-9423
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 1   have insufficient information to respond to the remaining allegations of paragraph 4.103 of

 2   the Amended Complaint and therefore deny the same.

 3              4.103 The allegations contained in paragraph 4.103 are directed at another Defendant

 4   and therefore the Answering Defendants deny the allegations for lack of information

 5   sufficient to form an opinion as to the truth of the allegations.

 6              4.104 The allegations contained in paragraph 4.104 are directed at another

 7   Defendant and therefore the Answering Defendants deny the allegations for lack of

 8   information sufficient to form an opinion or belief as to the truth of the allegations.

 9              4.105 Paragraph 4.105 in the Amended Complaint contains a legal conclusion for

10   which no response is required, and therefore the Answering Defendants deny the same.

11              4.106 The allegations contained in paragraph 4.106 are directed at another

12   Defendant and therefore the Answering Defendants deny the allegations for lack of

13   information sufficient to form an opinion or belief as to the truth of the allegations.

14              4.107 Plaintiffs assert no allegation of fact in paragraph 4.107 of the Amended

15   Complaint and therefore no response is required. To the extent that any response is required,

16   the Answering Defendants deny the same.

17              4.108 Plaintiffs assert no allegation of fact in paragraph 4.108 of the Amended

18   Complaint and therefore no response is required. To the extent that any response is required,

19   the Answering Defendants deny the same.

20              4.109 Plaintiffs assert no allegation of fact in paragraph 4.109 of the Amended

21   Complaint and therefore no response is required. To the extent that any response is required,

22   the Answering Defendants deny the same.

23              4.110 The Answering Defendants lack information sufficient to form an opinion or

24   belief as to the truth of the allegations contained in paragraph 4.110 of the Amended

25   Complaint and therefore deny the same.

26              4.111 The Answering Defendants deny the allegations as characterized in paragraph

27   4.111 of the Amended Complaint and therefore deny the same.
     DEFS FORD, FARINAS & KOMAROVSKY'S ANSWER                     KEATING, BUCKLIN & MCCORMACK, INC., P.S.
     TO PLTFS' AMD COMPLAINT - 15                                                ATTORNEYS AT LAW
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 1              4.112 The Answering Defendants deny the allegations as characterized in paragraph

 2   4.112 of the Amended Complaint.

 3              4.113 The Answering Defendants deny the allegations as characterized in paragraph

 4   4.113 of the Amended Complaint.

 5              4.114 The allegations contained in paragraph 4.114 of the Amended Complaint are

 6   directed at another Defendant, and the Answering Defendants are without sufficient

 7   knowledge to confirm or deny the allegations and therefore deny the same.

 8              4.115 The Answering Defendants deny the allegations as characterized in paragraph

 9   4.115 of the Amended Complaint.

10              4.116 The Answering Defendants deny the allegations as characterized in paragraph

11   4.116 of the Amended Complaint.

12              4.117 The Answering Defendants deny the allegations as characterized in paragraph

13   4.117 of the Amended Complaint.

14              4.118 The Answering Defendants deny the allegations as characterized in paragraph

15   4.118 of the Amended Complaint.

16              4.119 The allegations contained in paragraph 4.119 of the Amended Complaint are

17   directed at another Defendant, and the Answering Defendants are without sufficient

18   knowledge to confirm or deny the allegations and therefore deny the same.

19              4.120 The allegations contained in paragraph 4.120 of the Amended Complaint are

20   directed at another Defendant, and the Answering Defendants are without sufficient

21   knowledge to confirm or deny the allegations and therefore deny the same.

22              4.121 The allegations contained in paragraph 4.121 of the Amended Complaint are

23   directed at another Defendant, and the Answering Defendants are without sufficient

24   knowledge to confirm or deny the allegations and therefore deny the same.

25              4.122 The allegations contained in paragraph 4.122 of the Amended Complaint are

26   directed at another Defendant, and the Answering Defendants are without sufficient

27   knowledge to confirm or deny the allegations and therefore deny the same.
     DEFS FORD, FARINAS & KOMAROVSKY'S ANSWER                   KEATING, BUCKLIN & MCCORMACK, INC., P.S.
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 1              4.123 The allegations contained in paragraph 4.123 of the Amended Complaint are

 2   directed at another Defendant, and the Answering Defendants are without sufficient

 3   knowledge to confirm or deny the allegations and therefore deny the same.

 4              4.124 The Answering Defendants deny the allegations as characterized in paragraph

 5   4.124 of the Amended Complaint.

 6              4.125 The allegations contained in paragraph 4.125 of the Amended Complaint are

 7   directed at another Defendant, and the Answering Defendants are without sufficient

 8   knowledge to confirm or deny the allegations and therefore deny the same.

 9              4.126 The Answering Defendants lack sufficient information to confirm or deny the

10   allegations contained in paragraph 4.126 of the Amended Complaint and therefore deny the

11   same.

12                                     V.     CAUSES OF ACTION
13              5.1      The Answering Defendants deny the allegations as characterized in paragraph

14   5.1 of the Amended Complaint.

15              5.2      The Answering Defendants deny the allegations as characterized in paragraph

16   5.2 of the Amended Complaint.

17              5.3      The Answering Defendants deny the allegations as characterized in paragraph

18   5.3 of the Amended Complaint.

19              5.4      The Answering Defendants deny the allegations as characterized in paragraph

20   5.4 of the Amended Complaint.

21              5.5      The Answering Defendants deny the allegations as characterized in paragraph

22   5.5 of the Amended Complaint.

23              5.6      The Answering Defendants deny the allegations as characterized in paragraph

24   5.6 of the Amended Complaint.

25              5.7      The Answering Defendants deny the allegations as characterized in paragraph

26   5.7 of the Amended Complaint.

27              5.8      The allegations contained in paragraph 5.8 of the Amended Complaint are
     DEFS FORD, FARINAS & KOMAROVSKY'S ANSWER                     KEATING, BUCKLIN & MCCORMACK, INC., P.S.
     TO PLTFS' AMD COMPLAINT - 17                                                ATTORNEYS AT LAW
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 1   directed at another Defendant, and the Answering Defendants are without sufficient

 2   knowledge to confirm or deny the allegations and therefore deny the same.

 3              5.9      The allegations contained in paragraph 5.9 of the Amended Complaint are

 4   directed at another Defendant, and the Answering Defendants are without sufficient

 5   knowledge to confirm or deny the allegations and therefore deny the same.

 6              5.10     The allegations contained in paragraph 5.10 of the Amended Complaint are

 7   directed at another Defendant, and the Answering Defendants are without sufficient

 8   knowledge to confirm or deny the allegations and therefore deny the same.

 9              5.11     The allegations contained in paragraph 5.11 of the Amended Complaint are

10   directed at another Defendant, and the Answering Defendants are without sufficient

11   knowledge to confirm or deny the allegations and therefore deny the same.

12              5.12     The allegations contained in paragraph 5.12 of the Amended Complaint are

13   directed at another Defendant, and the Answering Defendants are without sufficient

14   knowledge to confirm or deny the allegations and therefore deny the same.

15              5.13     The Answering Defendants deny the allegations as characterized in paragraph

16   5.13 of the Amended Complaint.

17              5.14     The Answering Defendants deny the allegations as characterized in paragraph

18   5.14 of the Amended Complaint.

19              5.15     The Answering Defendants deny the allegations as characterized in paragraph

20   5.15 of the Amended Complaint.

21              5.16     The Answering Defendants deny the allegations as characterized in paragraph

22   5.16 of the Amended Complaint.

23              5.17     The Answering Defendants deny the allegations as characterized in paragraph

24   5.17 of the Amended Complaint.

25              5.18     Paragraph 5.18 of the Amended Complaint contains only legal conclusions

26   for which no response is required. To the extent that a response is necessary, the Answering

27   Defendants deny the same.
     DEFS FORD, FARINAS & KOMAROVSKY'S ANSWER                     KEATING, BUCKLIN & MCCORMACK, INC., P.S.
     TO PLTFS' AMD COMPLAINT - 18                                                ATTORNEYS AT LAW
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     1035-00014/565146                                                          PHONE: (206) 623-8861
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 1              5.19     The allegations contained in paragraph 5.19 of the Amended Complaint are

 2   directed at another Defendant, and the Answering Defendants are without sufficient

 3   knowledge to confirm or deny the allegations and therefore deny the same.

 4              5.20     The allegations contained in paragraph 5.20 of the Amended Complaint are

 5   directed at another Defendant, and the Answering Defendants are without sufficient

 6   knowledge to confirm or deny the allegations and therefore deny the same.

 7              5.21     The Answering Defendants deny the allegations as characterized in paragraph

 8   5.21 of the Amended Complaint.

 9              5.22     The Answering Defendants deny the allegations as characterized in paragraph

10   5.22 of the Amended Complaint.

11              5.23     The Answering Defendants lack sufficient information to confirm or deny the

12   allegations as characterized in paragraph 5.23 of the Amended Complaint and therefore deny

13   the same.

14              5.24     The Answering Defendants deny the allegations as characterized in paragraph

15   5.24 of the Amended Complaint.

16              5.25     The Answering Defendants deny the allegations as characterized in paragraph

17   5.25 of the Amended Complaint.

18              5.26     The Answering Defendants deny the allegations as characterized in paragraph

19   5.26 of the Amended Complaint.

20                                     VI.    ALLEGED DAMAGES
21              6.1      The Answering Defendants lack sufficient information to confirm or deny

22   whether Ellis was 33 years old when he died and therefore deny the same. The Answering

23   Defendants deny all remaining allegations contained in paragraph 6.1 of the Amended

24   Complaint.

25              6.2      The Answering Defendants lack sufficient information to confirm or deny the

26   allegations contained in paragraph 6.2 and therefore deny the same.

27              6.3      The Answering Defendants deny the allegations as characterized in paragraph
     DEFS FORD, FARINAS & KOMAROVSKY'S ANSWER                     KEATING, BUCKLIN & MCCORMACK, INC., P.S.
     TO PLTFS' AMD COMPLAINT - 19                                                ATTORNEYS AT LAW
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 1   6.3 of the Amended Complaint.

 2              6.4      The Answering Defendants deny the allegations as characterized in paragraph

 3   6.4 of the Amended Complaint.

 4              6.5      The Answering Defendants deny the allegations as characterized in paragraph

 5   6.5 of the Amended Complaint.

 6              6.6      Paragraph 6.6 of the Amended Complaint does not include an allegation of

 7   fact and therefore Defendants are not required to provide a response. To the extent that an

 8   Answer is required, the Answering Defendants deny all allegations contained in paragraph

 9   6.6 of the Amended Complaint.

10              6.7      The Answering Defendants deny the allegations as characterized in paragraph

11   6.7 of the Amended Complaint.

12              6.8      The Answering Defendants deny the allegations as characterized in paragraph

13   6.8 of the Amended Complaint.

14                                     AFFIRMATIVE DEFENSES
15              BY WAY OF FURTHER ANSWER and FIRST AFFIRMATIVE DEFENSE, the

16   Answering Defendants contend that the injuries and damages, if any claimed by Plaintiffs

17   were proximately caused or contributed to by the fault of Plaintiffs, and/or their reckless,

18   willful, and wanton actions.

19              BY WAY OF FURTHER ANSWER AND SECOND AFFIRMATIVE DEFENSE,

20   Defendants contend that Plaintiffs’ claims are precluded by the doctrine of qualified

21   immunity.

22              BY WAY OF FURTHER ANSWER AND THIRD AFFIRMATIVE DEFENSE,

23   Defendants contend that the injuries and damages, if any, claimed by Plaintiffs herein, arise

24   out of a condition of which Plaintiffs had knowledge and to which they voluntarily subjected

25   themselves.

26              BY WAY OF FURTHER ANSWER AND FOURTH AFFIRMATIVE DEFENSE,

27   Defendants contend that the injuries and damages, if any, the same was the result of
     DEFS FORD, FARINAS & KOMAROVSKY'S ANSWER                     KEATING, BUCKLIN & MCCORMACK, INC., P.S.
     TO PLTFS' AMD COMPLAINT - 20                                                ATTORNEYS AT LAW
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 1   reasonable conduct and required conduct of Defendants under the circumstances and was

 2   excusable and justifiable in connection with Plaintiffs’ conduct and that any force utilized by

 3   Defendants was reasonable, necessary, and lawful under the circumstances and/or in the

 4   defense of self or others and was privileged.

 5              BY WAY OF FURTHER ANSWER AND FIFTH AFFIRMATIVE DEFENSE,

 6   Defendants contend that Defendants at all times acted in good faith in the performance of

 7   their duties and are therefore immune from suit for the matters charged in Plaintiff’s

 8   complaint.

 9              BY WAY OF FURTHER ANSWER AND SIXTH AFFIRMATIVE DEFENSE,

10   Defendants contend that if the Plaintiff suffered any damages, recovery is reduced or barred

11   by Plaintiffs’ and Plaintiffs’ decedent’s failure to mitigate said damages.

12              BY WAY OF FURTHER ANSWER AND SEVENTH AFFIRMATIVE DEFENSE,

13   Defendants contend that Plaintiffs’ damages are completely barred because Plaintiffs’

14   decedent was under the influence of intoxicating liquor or drug at the time of the occurrence

15   causing the injury or death and that such condition was a proximate cause of the injury or

16   death. RCW 5.40.060.

17              BY WAY OF FURTHER ANSWER AND EIGHTH AFFIRMATIVE DEFENSE,

18   Defendants contend that Plaintiffs’ damages are completely barred because Plaintiffs’

19   decedent was engaged in the commission of a felony at the time of the occurrence causing

20   the injury or death and the felony was a proximate cause of the injury or death. RCW

21   4.24.420.

22              BY WAY OF FURTHER ANSWER AND NINTH AFFIRMATIVE DEFENSE, that

23   Plaintiffs lack capacity or standing to sue individually or in a representative capacity.

24              BY WAY OF FURTHER ANSWER AND TENTH AFFIRMATIVE DEFENSE, that

25   the Answering Defendants at all times acted in good faith in the performance of their duties

26   and are therefore immune from suit for the matters charged in Plaintiff’s complaint.

27
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                                           PRAYER FOR RELIEF
 1
                WHEREFORE, Defendants FORD, FARINAS, and KOMAROVSKY pray for the
 2
     following relief:
 3
                1.       That Plaintiff’s complaint be dismissed with prejudice, and that Plaintiffs take
 4
     nothing by their complaint;
 5
                2.       That Defendants be allowed their statutory costs and reasonable attorney fees
 6
     incurred herein; and
 7
                3.       For such additional relief the Court may deem just and equitable.
 8

 9
                                       TRIAL BY JURY DEMANDED
10
                Pursuant to Fed.R.Civ.P. 38, Defendants respectfully demand their right to a trial by
11
     jury of six or more persons in this matter.
12

13
                DATED this 23rd day of February, 2022.
14

15                                              KEATING, BUCKLIN & McCORMACK, INC., P.S.
16

17                                              By: /s/ Stewart A. Estes
                                                Stewart A. Estes, WSBA #15535
18

19                                              By: /s/ Audrey M. Airut Murphy
                                                Audrey M. Airut Murphy, WSBA #56833
20
                                                Attorneys for Defendants FORD, FARINAS AND
21                                              KOMAROVSKY
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26

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 1                                    CERTIFICATE OF SERVICE

 2              I hereby certify that on the below date, I electronically filed the foregoing with the

 3   Clerk of the Court using the CM/ECF system which will send notification of such filing to

 4   the following:

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16              sjohnson@freybuck.com
17
     and I hereby certify that I have mailed by United States Postal Service the document to the
18
     following non-CM/ECF participants: N/A.
19

20   DATED: February 23, 2022
21

22                                               /s/ Audrey M. Airut Murphy
                                                 Audrey M. Airut Murphy, WSBA #56833
23

24

25

26

27
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